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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


 CASA, INC. et al.,

                Plaintiffs,

        v.
                                                      Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,

                Defendants.




                           DECLARATION OF TRINIDAD GARCIA


       I, Trinidad Garcia, upon my personal knowledge, hereby submit this declaration pursuant

to 28 U.S.C. § 1746 and declare as follows:

   1. I am more than 18 years of age and competent to testify, upon my personal knowledge, to

       the facts set forth herein.

   2. I am a member of the Asylum Seeker Advocacy Project (“ASAP”). I voluntarily joined

       the organization.

   3. I currently live in North Carolina, where I have resided since 2017.

   4. My husband and I are both from Venezuela and have been together for fifteen years. We

       have been living in the United States since 2017. We first came to the United States on

       tourist visas.

   5. We have a pending affirmative asylum application with USCIS and have not been

       scheduled for an interview in our case. We also are both part of the 2021 Venezuela
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   Temporary Protected Status (“TPS”) cohort, which remains active. I recently received an

   approval for my renewed TPS and my husband’s renewal application is pending.

6. We both have work authorization from the federal government and have been working in

   our local community.

7. I graduated with a degree in Business Administration in Venezuela, and my husband has a

   degree in environmental engineering. Upon arriving in the United States, I began to clean

   homes. I have since started my own home cleaning business. My husband works a

   technician to restore stone, tile, and grout in home remodels.

8. I am currently pregnant and due after July of 2025.

9. My pregnancy has not been easy. I was diagnosed with both hypertension and gestational

   diabetes, and my doctor explained to me that stress and anxiety can worsen these conditions

   and have negative effects on my baby.

10. Because of these diagnoses, I have tried my best not to think or worry about the Executive

   Order President Trump issued that would deny my baby U.S. citizenship. But even though

   I have tried not to, I am very worried and anxious about the possibility that my baby might

   not be born a U.S. citizen.

11. My husband and I want our child to receive a U.S. passport and proof of U.S. citizenship

   as soon as they are born. We are worried because we do not know if the Executive Order

   will make it impossible for our child to get U.S. citizenship at birth.

12. Even if my husband and I wanted to give our child Venezuelan citizenship, I feel it would

   be impossible. There is no way for us to approach the Venezuelan government regarding

   our baby’s citizenship because there are no Venezuelan consular services in the United

   States. And since we are asylum seekers, we cannot travel to Venezuela or to another
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   country that does have Venezuelan consular services. If we leave the country, it will mean

   abandoning our asylum claim in the U.S.

13. If our U.S.-born baby is not able to get U.S. citizenship at birth, I am very worried that my

   baby will not be a citizen of any country or be able to get important identity documents.

   This will leave my baby in a type of limbo as a stateless person. If we ever decided to

   leave the U.S., I’m not sure whether my baby could even relocate or travel abroad as a

   stateless person. I am also worried that I will have to apply for asylum for my baby and

   am confused about what the process would be like. I am worried that I will have to hire

   someone to help our baby apply for immigration status, or pay the government for

   application fees, which could cost my family a significant amount of money.

14. I am also afraid that my family may be separated if my child is not given U.S. citizenship

   at birth. I feel that my baby is in a precarious position. Since my baby would not be a

   Venezuelan citizen or a U.S. citizen, I am especially scared about to where the U.S.

   Government could deport my baby.

15. I also want my baby to be a U.S. citizen because we have built a life here over the past

   eight years. I want to continue building that life here with my baby by my side.

16. I am scared to use my full name in the lawsuit because I am worried about the possibility

   of government retaliation if my name is disclosed in this case. Because my husband and I

   do not yet have asylum or any other permanent legal status, I worry that the U.S.

   government might target me for my participation in this lawsuit, so I want to keep as low

   a profile as possible. I am also scared of individuals in the public learning my name and

   trying to find me, my child, or my family in order to harass us or cause us harm. I am also

   scared for my child and do not want to jeopardize their privacy by using my full name.
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   17. I understand that I am being asked to serve as a class representative on behalf of other

       pregnant persons in a similar situation to my own. I first decided to participate in this

       lawsuit because I believed that it was the best way for me to support my family and other

       people in similar situations. I am willing to serve as a class representative because I

       continue to feel that it is important to protect my family’s rights and those of other people

       in similar situations.

I declare under penalty of perjury that the foregoing is true and correct.



DATED: June____, 2025
                                                   ___
                                                             Trinidad Garcia
